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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

 GENESIS MARINE, LLC                               §
     Plaintiff                                     §
                                                   §
                                                   §
                                                   § CIVIL ACTION NO. 4:21-cv-00289
 VERSUS                                            §
                                                   §
                                                   §
 SGR ENERGY, INC.                                  §
      Defendant                                    §


                           RESPONSE TO SHOW CAUSE ORDER

        NOW INTO COURT, through undersigned counsel, comes plaintiff, Genesis Marine, LLC

(“Genesis”), which files this response to the Court’s February 24, 2022 SHOW CAUSE order.

        Genesis shows that in fact the bankruptcy case filed by SGR Energy Inc. was dismissed by

the bankruptcy court on January 21, 2022, and that the correct reading of that document is that

SGR cannot file another bankruptcy proceeding until 60 days from that date, or until March 22,

2022. In other words, the bankruptcy court’s January 21, 2022, order does not state that the

bankruptcy case will be dismissed sixty days from January 21, 2022, but the purpose of the order

was to preclude SGR from “running” back to the bankruptcy court for at least the sixty days “with

prejudice” period.

        Genesis notes that the bankruptcy case was dismissed as a result of SGR’s own motion to

dismiss. See Exhibit 1.

        Accordingly, there is no automatic stay in place, and Genesis seeks to execute on its

judgment now as it is entitled to do.




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                                              Respectfully submitted,

                                              PHELPS DUNBAR LLP



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                                CERTIFICATE OF SERVICE
       I certify that on this 25th day of February, 2022, a true and correct copy of the foregoing
instrument has been served upon all counsel of record via CM/ECF.

                                             /s/ E. Martin McLeod
                                             Of Phelps Dunbar, LLP




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